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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Central District
                                                __________  DistrictofofCalifornia
                                                                         __________

        INTERNATIONAL BROTHERHOOD OF                             )
             TEAMSTERS, LOCAL 396,                               )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 8:18-cv-1772 JLS (ADSx)
                                                                 )
   MADISON MATERIALS.; and DOES I through X,                     )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) MADISON MATERIALS, INC.
                                       JUDITH HELAINE WARE
                                       1035 EAST 4TH STREET
                                       SANTA ANA, CA 92701




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Paul L. More, SBN 228589/ F. Benjamin Kowalczyk, SBN 316796
                                       McCRACKEN, STEMERMAN & HOLSBERRY LLP
                                       595 Market Street, Suite 800 / San Francisco, CA 94105 TEL: 415-597-7200




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:     October 4, 2018                                                   /s/ Evelyn Synagogue
                                                                                      Signature of Clerk or Deputy Clerk
